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Attorneys for Allstate Insurance Company

                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF ALASKA

KAREN BARSANTI,                                    )
                                                   )
                       Plaintiff,                  )
                                                   )
v.                                                 )   Case No. 3:12-cv-00074-SLG
                                                   )
ALLSTATE INSURANCE COMPANY,                        )
                                                   )
                       Defendant.                  )
                                                   )

                  STIPULATION FOR DISMISSAL WITH PREJUDICE

                The parties, by and through their respective attorneys, hereby stipulate and

agree that all of the claims asserted by Karen Barsanti in this action against Allstate

Insurance Company are hereby dismissed in their entirety and with prejudice, each side

bearing its own costs and attorney's fees, for the reason that an amicable settlement has

been reached.




Stipulation for Dismissal With Prejudice
Barsanti v. Allstate, Case No. 3:12-cv-00074-SLG
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                  DATED at Anchorage, Alaska, this 24th day of January, 2013.

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CERTIFICATE OF SERVICE
I hereby certify that on the 24th day of
January, 2013, a copy of the foregoing
document was electronically served on:

Jeffrey J. Barber, Esq.
Neil T. O’Donnell, Esq.


By: s/ Gary A. Zipkin
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